Case 17-31588-KRH           Doc 16
                                 Filed 09/05/17 Entered 09/05/17 14:25:54                        Desc Main
                                 Document     Page 1 of 1 COURT
                         UNITED STATES BANKRUPTCY
                             EASTERN DISTRICT OF VIRGINIA

                                       CHANGE OF ADDRESS

Other than for an attorney, if the Debtor/Creditor whose address is changing is a party in an Adversary
Proceeding before the Court, the Change of Address must be filed in the Adversary Proceeding as well as in
the Bankruptcy Case. If debtor has both a street and mailing address, please indicate which address is being
updated.

For:     ✔       Debtor
                 Attorney [If Applicable:] Name: ____________________________________
                 Creditor
        If joint case, please check the appropriate box as set out below:
        New address is for:                   Husband and Wife
                                              Husband Only
                                              Wife Only

                                    Melissa Brooks
        [If applicable] Case Name: ________________________________________________
        [If applicable] Case No./Adversary Proceeding No.: ____________________________
                                                           17-31588
        [If applicable] Creditor Name: _____________________________________________

         ✔Street Address      Mailing Address
        New Address: __________________________________________________________
                     11520 Weyanoke Road
                           No. and Street, Apt., P. O. Box or R. D. No.
        City: ___________________________
              Charles City                State: ______
                                                 VA     Zip: ______
                                                             23030


         ✔ Street Address      Mailing Address
                      10100 Barnettes Road
        Old Address: ____________________________________________________________
                            No. and Street, Apt., P. O. Box or R. D. No.

        City: ___________________________
              Charles City                State: ______
                                                 VA     Zip: ______
                                                             23030
        Telephone Number: (_____) ______________________________
                                 Please include area code



                                         /s/ Brian K. Stevens
                                         Signature of Filer [check filer type below]:
                                          ✔      Attorney for Debtor
                                                 Debtor [If joint case and address is for husband and
                                                 wife, both debtors must sign.]
                                                 Creditor
                                                 Attorney

      9/5/2017
Date: _________________________
pc:    Trustee
       United States Trustee
       Creditor (for creditor’s change of address)
[changead ver. 02/08]
